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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

                    ORDER GRANTING DEFENDANT’S MOTION FOR
                   EXCLUSION OF TIME UNDER SPEEDY TRIAL ACT

         Under 18 U.S.C. § 3161(h)(7)(B)(ii), Defendant has moved to exclude the 25 days between

August 3, 2023 (initial appearance) and August 28, 2023 (first status conference) from the Speedy

Trial Act calculation. Given the complexity and magnitude of this matter, including the

“substantial amount of discovery” (ECF No. 10) and the novel legal and factual questions, it is in

the interests of justice to exclude those 25 days from the Speedy Trial Act calculation.

Accordingly, it is hereby

         ORDERED that the period from August 3 to 28, 2023 is excluded from the Speedy Trial

calculation pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) for good cause shown. The resulting delay

fulfills the ends of justice and outweighs the interests of the public and the Defendant in a speedy

trial.




Date:                                                __________________________________
                                                     TANYA S. CHUTKAN
                                                     United States District Judge
